        Case 2:20-cv-00302-SCJ Document 266-1 Filed 10/19/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                                )
______________________________,
Fair Fight, Inc., et al.                        )
                            Plaintiff(s)        )
                                                )     Case No. 2:20-CV-00302-SCJ
                V.                              )
                                                )
______________________________,
True The Vote, Inc., et al.                     )
                            Defendant(s)        )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
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may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                 ______________
                 10/18/2023                Keisha M. Crump
                                           __________________________________
                        Date                            Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:        ______________________________________________
                               Pretrial Conference
                               ______________________________________________
       Proceeding Date:        9/19/2023
                               ______________________________________________
                               ______________________________________________
       Volume Number:          1
                               ______________________________________________
                               ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): Attorney Michael J. Wynne

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

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                 10/18/2023                Keisha M. Crump
                                           __________________________________
                        Date                            Court Reporter
